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Barry McHugh

Kootenai County Prosecuting Attorney
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Attorney for Claimant Kootenai County

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,
Plaintiff,
Case No. CV-12-296-N-CWD
vs.
VERIFIED CLAIM AND
REAL PROPERTY LOCATED AT 5294 STATEMENT OF INTEREST

BANDY ROAD, PRIEST RIVER,
BONNER COUNTY, IDAHO, and all
fixtures, improvements and
appurtenances thereon (Owner of
Record: Nathan A. Schumacher),

Defendant.

 

 

COMES NOW Claimant Kootenai County, by and through its attorney, Patrick M.
Braden, Civil Deputy Prosecuting Attorney, and presents this honorable Court, pursuant
to Rule G(5)(a) of the Supplemental Rules for Admiralty or Maritime and Asset

Forfeiture Claims, Federal Rules of Civil Procedure (“Supplemental Rules”), with its

VERIFIED CLAIM AND STATEMENT OF INTEREST — 1
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claim for reimbursement of county indigent medical assistance approved and paid
pursuant to Title 31, Chapter 35, Idaho Code, with respect to the real property that is the
subject of the Verified Complaint In Rem filed in this matter on June 12, 2012, and the
Notice of Complaint for Forfeiture filed in this matter on October 30, 2014.
I. Jurisdiction
The Court has jurisdiction over this matter under 28 U.S.C. § 1345 and 28 U.S.C.
§ 1355.
ll. Standing
Claimant has standing under Rule G(5)(a) of the Supplemental Rules as a party
asserting a legal interest in the property referenced herein. Such interest is secured by
a lien which is prior in time to the claim of United States for forfeiture of the property.
lll. Specific Property Claimed
The specific property that is the subject of this Claim (“the subject property”) is
the real property located at 5294 Bandy Road, Priest River, Bonner County, Idaho,
including all fixtures, improvements and appurtenances thereon, more particularly
described as follows:
That part of the South Half of the Southwest Quarter of Section 13,
Township 55 North, Range 4 West, Boise Meridian, lying between the
Bandy County Road Right of Way and the East side of the Spokane
International Railroad right of way.
IV. Identity of Claimant and Claimant’s Interest in the Property
A. Identity of Claimant. The Claimant is Kootenai County, a political subdivision

of the State of Idaho, on behalf of Kootenai County Assistance, a department of the

Clerk of the District Court for Kootenai County.

VERIFIED CLAIM AND STATEMENT OF INTEREST — 2
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B. Claimant’s Interest in the Property. Claimant Kootenai County hereby asserts
its claim against the subject property for reimbursement of county indigent medical
assistance approved and paid on behalf of Dane Schumacher pursuant to Title 31,
Chapter 35, Idaho Code, for the reasons stated below.

Under 18 U.S.C. § 981(f), “[a]ll right, title, and interest in property [that is subject
to civil forfeiture under] subsection (a) of this section shall vest in the United States
upon commission of the act giving rise to forfeiture under this section.” See also U.S.
Const. Art. 6, cl. 2 (the “Supremacy Clause”). Thus, County liens are not enforceable
against the United States after it has obtained final, clear title to the property.

Dane Schumacher was the recipient of County indigent medical assistance
pursuant to an order approving such assistance which was signed by the Kootenai
County Board of Commissioners on April 9, 2009. See Exhibit A. He currently owes
$53,210.07 in reimbursement to the County for this assistance pursuant to Idaho Code
§ 31-3510A. See Exhibit B. Pursuant to Idaho Code § 31-3504 and § 31-3510A, an
automatic lien against all real and personal property of an applicant for assistance
attaches upon the first day of the medical services for which assistance is sought, which
must be perfected through the filing of a notice of lien with the office of the county
recorder (with respect to real property).

According to the order, the first day on which services were rendered was
November 22, 2005, at which time Dane was a resident of Kootenai County, and the
application for assistance pertaining to these services was filed on April 27, 2006. See
Exhibit A, pp. 2-3. A notice of lien was originally filed in Kootenai County on May 12,
2006 in order to timely perfect the lien. See Exhibit C. A notice of lien (Form N1) was
VERIFIED CLAIM AND STATEMENT OF INTEREST -— 3

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also filed with the Idaho Secretary of State on May 8, 2006. See Exhibit D. Sometime
after those notices of lien were filed, Kootenai County Assistance staff learned that
Dane had purchased the subject property in Bonner County. Thus, the notice of lien
originally filed in Kootenai County was filed in Bonner County on March 2, 2009. See
Exhibit E. A notice of lien specifically describing the subject property was also filed in
Bonner County on March 2, 2009. See Exhibit F.

Dane Schumacher purchased the subject property on July 13, 2005. See
Exhibit G. He then conveyed the property via quitclaim deed to his son, Nathan
Schumacher, the current owner of record, on June 6, 2006. See Exhibit H. This was
after Dane had applied for assistance with the County, which is the date of priority for
the County lien under Idaho Code § 31-3504. See Exhibit A. Therefore, Nathan took
title to the property subject to the County’s previously recorded lien. In addition, Dane,
through his legal counsel, has filed a Notice of Interest in the subject property in this
action, see Exhibit I, and there may be facts which show that Dane still has ownership
of, or an interest in, the subject property notwithstanding Nathan’s legal title.
Accordingly, the divestiture of legal title to the subject property to Nathan after the
priority date of the County’s lien should not defeat the County’s claim to the proceeds of
the sale of the property should it be forfeited to the United States.

This claim is intended to preserve Claimant’s right to collect reimbursement of
county indigent medical assistance approved and paid on behalf of Dane Schumacher
pursuant to Title 31, Chapter 35, Idaho Code from the proceeds of the sale of this
property, should it be forfeited to the United States, at which point Claimant's interest
would otherwise be extinguished. Therefore, should the subject property be forfeited to
VERIFIED CLAIM AND STATEMENT OF INTEREST - 4

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the United States, Claimant requests that the Court enter an order approving this claim
in order to allow the County to be paid from the proceeds of the sale of the property.
V. Relief Requested

Based on the above, including the exhibits attached to this Claim, Claimant
Kootenai County respectfully requests that the Court approve the County's claim for
reimbursement of county indigent medical assistance set forth above with respect to the
real property subject to forfeiture to the United States in this action. Should the subject
property be forfeited to the United States, Claimant further requests that the Court order
that the reimbursement for assistance paid to Dane Schumacher be paid from the
proceeds of the sale of the property.

Dated this 21 day of November, 2014.

Kootenai County Prosecuting Attorney

be lnds—

Patrick M. Braden
Attorney for Claimant Kootenai County

VERIFIED CLAIM AND STATEMENT OF INTEREST - 5
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VERIFICATION

STATE OF IDAHO }
}ss.
COUNTY OF KOOTENAI }

CARRIE McCRITE, being first duly sworn upon oath, deposes and says:

1am C saterviiwer- Kootenai County Assistance for Kootenai
County, Idaho. | am familiar with the facts and matters stated herein. | declare under
penalty of perjury that the facts and matters stated herein are true and correct to the
best of my knowledge, information and belief. .

 
  

Carrie McCrite

st
SUBSCRIBED AND SWORN to before me this _&/~__ day of November, 2014.

Aye 4. Vwplig-

Notary Public for the State of Idaho 7
. Residing at: CN LE
~My Commission Expires: § 7-&/ - LORS

 

VERIFIED CLAIM AND STATEMENT OF INTEREST — 6
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CERTIFICATE OF SERVICE

| hereby certify that on the KY day of November, 2014, | served a copy of the
foregoing on the following CM/ECF Registered Participants as reflected on the Notice of

Electronic Filing:

Anthony G. Hall

US ATTORNEY’S OFFICE

MK Plaza, Plaza IV

800 Park Bivd., Suite 600
Boise, ID 83712

Email: Anthony.Hall@usdoj.gov

Nicolas V. Vieth

VIETH LAW OFFICES, CHTD.
912 E. Sherman Avenue
Coeur d'Alene, ID 83814

E-Mail: nick@viethlaw.com

hla K-

Patrick M. Braden

VERIFIED CLAIM AND STATEMENT OF INTEREST -— 7
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BEFORE THE BOARD OF COUNTY COMMISSIONERS

OF KOOTENAI COUNTY, STATE OF IDAHO
Request No. im

)
In the Matter of the )

)
APPLICATION OF DANE SCHUMACHER ) AMENDED FINDINGS OF
FOR COUNTY INDIGENT ) FACT, CONCLUSIONS OF
MEDICAL ASSISTANCE ) LAW AND ORDER

)

 

 

The above-entitled matter was presented to the Board of County Commissioners of

Kootenai County, Idaho, on Tuesday, 9/09/08, at the hour of 8:55 a.m., for an appeal of Dane

Schumacher, Claimant, from the Initial Determination of Denial rendered on 06/02/06 for

Request No. a=. Present at the appeal hearing were Chairman Elmer R. Currie,
Commissioner W. Todd Tondee, and Commissioner Richard A. Piazza. Also present at the
appeal hearing were Kootenai County Civil Attorney Jethelyn Harrington, County Assistance
Interviewer Cindy Lindquist, and Deputy Clerk Ranell Sims. The appellant was present.
At the commencement of the hearing, Lindquist, submitted Exhibits “A” through “Z” and
“A A” through “DD” into the record of the proceedings. Schumacher stated that his only income
is from family members. He stated that he quitclaimed property he owned in Bonner County to .
_ his son, Nathan, shortly after his medical expenses were incurred so Nathan could get a loan
against the property to finance the digging a well on the property. Having heard the testimony,
Commissioner Tondee moved that the Board continue the hearing until 10/21/08 to allow time

for Schumacher to either get a consensual lien on the property in his son’s name, or have Nathan

quitclaim the property back to Schumacher so a lien could be placed on the property.

‘EXHIBIT

Findings of Fact, Conclusions 1
Of Law, and Order

6-12-2AG -W -C/D

 
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On Tuesday, 10/21/08, at the hour of 9:40 a.m., the Board reconvened to deliberate on the

above matter. Present at the deliberations were Chairman Elmer R. Currie and Commissioner

W. Todd Tondee. Commissioner Richard A. Piazza was excused. Also present at the
deliberations were Kootenai County Civil Attorney Jethelyn Harrington, County Assistance
Interviewer Cindy Lindquist, and Deputy Clerk Ranell Sims. The appellant was present. At the

commencement of the deliberations, Lindquist submitted Exhibits “EE” through “II” into the

record of the proceedings. At the 10/21/08 hearing, the Board affirmed the denial due to Mr.

Schumacher’s having divested himself of property within one year following his medical
emergency.

On December 3, 2008, Kootenai Hospital District filed a Petition for Judicial Review in
the matter under Kootenai County Case Number CV-08-9698. Notice of Lodging of the

Transoript and Agency Record was filed on 12/ 17/09. Notice of Settlement and Filing of

Transcript was filed with the Court on 1/5/09.

On 3/10/09 the Board of County Commissioners met again and discussed Quali
again. There they decided upon the advice of counsel that it was not feasible to pursue the
defense of this matter due to the wording of Idaho Code § 35-3511(3).

The Board, having heard and weighed the testimony and evidence presented, make the

following findings of fact, conclusions of law, and order.

FINDINGS OF FACT
"1. Dane Schumacher (Schumacher) is a single person Age §%. (Exhibit B pg. 2)
2.) An application for county indigent medical assistance was timely submitted by Kootenai

Medical Center on 4/27/06 as required under Idaho Code § 31-3505. (Exhibit B.)

Findings of Fact, Conclusions 2
Of Law, and Order
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LC. § 31-3501 against Mr. Schumacher with a priority date of 11/22/05. (Ext. X pg. 1 of
1) |

4.) Schumacher did not attend an interview scheduled on 5/17/06. (Ext. C pg. 1, Ext. F.)

5.) On 6/16/06 Schumacher called to say that he wanted nothing to do with the county

application and that he had signed over his property to his son Nathan. (Exhibit C pg. 3.)

6.) Schumacher participated in a telephone deposition on 5/23/07, (Exhibit C pe. 1)

7.) | At the time of the telephone interview, Schumacher did not have income and son,

| Nathan, provided for his needs. Present income is unknown. (Exhibits C pg. 3.)

8.) Schumacher stated that he has not worked or filed an income tax return since 1998.
(Exhibit C pg. 1, | |

9.) Schumacher stated that his only asset is a 1998 Harley Davidson motorcycle. (Exhibits C
pg. 2, Exhibit B pg. 6.)

10.) On 6/15/05 Schumacher sold his Post Falls property. Cash received totaled $108,912.85.
(Exhibit Z) |

11.) On 7/13/05 Schumacher purchased property located in Priest River (Bonner County) in
the amount of $65,136.00. Exhibit AA

12.) “Medical bills totaling $96,330.47 were incurred from 11/22/05 through 1/31/06 due to

SD. exbivit B, Exnibit D and Exhibit DD)

13.) . On 6/6/06 Schumacher divested himself of assets by quit claiming his Bonner County
property over to his son Nathan A. Schumacher. (Exhibit BB.)

Findings of Fact, Conclusions 3

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On 5/12/2006 the County filed a lien with the Kootenai County Recorder's Office per

Of Law, and Order
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Findings of Fact, Conclusions

Case 2:12-cv-00296-CWD Document 42 Filed 11/24/14 Page 11 of 27

The medical bills of $96,330.47 divided by 60 months, equals $1,605.50. This is the

amount that Schumacher must -be able to pay in order to avoid being medically indigent

under Idaho law.

Schumacher purchased property in Bonner County on 7/13/05. Pursuant to Idaho Code

31-3506(a), six months from 7/13/05, or as of 1/13/06, Schumacher would be considered.

a Bonner County resident.

The County issued an Initial Determination of Denial of Request No. SB on

06/02/06, denying the request for assistance. (Exhibit D.) The denial was based on the

grounds that:

Per Idaho Code § 31-3502(17), resources shall include the ability of an applicant &

a.
obligated persons to pay for necessary medical services over a period of up to five (5)

years.

b. The applicant did not cooperate in presenting for an interview, nor did he provide the
required information and documentation, as required under Idaho Code §31-

-3505A(2).

The truth of the matters contained in the application were not sworn to by the
applicant as required under Idaho Code § 31-3504. Therefore, the application was

incomplete.

d. Per Idaho Code § 31-3502(12), a resident does not include a person who comes into
this state for temporary purposes such as seasonal labor, education or vacation. The
applicant has failed to prove that he has been a resident of the State of Idaho for the

past 30 consecutive days.

On 6/12/06 Kootenai Medical Center timely filed an Indigent Appeal Request for
Request: No. SE with the County, as required under Idaho Code § 31-3505D.
(Exhibit G.) |

A notice of the scheduled appeal hearing was mailed to Schumacher via certified mail on

6/12/06 -~with a copy to Kootenai Medical Center. (Exhibit H)

Of Law, and Order
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A notice of the appeal hearing scheduled for 9/9/08 at 8:53 a.m. was mailed to
Schumacher via certified mail on 7/21/08 with a copy to Michael Hague, Attorney at Law
representing Kootenai Medical Center. (Exhibit K, Exhibit L.)

Schumacher appeared for the Appeal Hearing on 09/09/08 and stated that his only
income is from family members. He stated that he quitclaimed the property he owned in

Bonner County to his son, Nathan, shortly after his medical expenses were incurred so

Nathan could get a loan against the property to finance digging a well on the property.

Commissioner Tondee moved that the Board continue the hearing until 10/21/08 to allow

time for Schumacher to either get a consensual lien on the property in his son’s name or

have Nathan quit claim the property pack to Schumacher so a lien can be placed on the

property.

It was evident in several phone calls to both Schumacher and Nathan that quitclaiming

the property back to Schumacher was not an option. Nathan stated that he had consulted
an attorney regarding the issue.

A notice of the Appeal Hearing was mailed to Schumacher via certified mail on 09/29/08
with a copy to Michael Hague, Attorney at Law representing Kootenai Medical Center.
(Exhibit HE.) A copy was also mailed to Nathan Schumacher. (Exhibit II.)

On 3/2/2009 the County filed a lien with the Bonner County Recorder’s Office per LC. §
31-3501 against Mr. Schumacher with a priority date of 11/22/05. A copy of this lien is
attached. | .

One 3/2/2009 the County filed a lien with the Bonner County Recorder’s Officer per LC.
§ 31-3501 against real property with a description of 13-55N-4W.S2SW 3 OF RR &

WEST OF CO RD, with a priority date of 1 1/22/05. A copy of this lien is attached.

Findings of Fact, Conclusions . 5
Of Law, and Order
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CONCLUSIONS OF LAW
Pursuant to Idaho Code § 31-3503, the Kootenai County Board of Commissioners is
charged with accounting for, and maintaining the medically indigent residents of

Kootenai County, up to $10,000.00 per claim in the aggregate for a twelve (12) month

period for necessary medical services.
Idaho Code § 31-3502(1) defines “medically indigent” as any person who is need of

necessary medical services and who does not have income and other resources available

from whatever source sufficient to enable the person to pay for necessary medical

services.

Schumacher has established that he was a Kootenai County resident as required under

Idaho Code §§ 31-3502(12), 31-3503, and 31-3506.

Schumacher received necessary medical services, as defined in Idaho Code § 31-

- 3502(18).

Idaho Code § 31-3502(17) provides in part:

“Resources” means all property, whether tangible or intangible, real or personal, liquid or
nonliquid, including, but not limited to, all forms of public assistance, ‘crime victim’s
compensation, worker’s compensation, veterans benefits, Medicaid, Medicare and any
other property from any source for which an applicant and/or an obligated person may be
eligible or in which he or she may have an interest. Resources shall include the ability of
an applicant and obligated persons to pay for necessary medical services over a period of

up to three (3) years.

The Board finds that Schumacher divested himself of assets following his medical
emergency. (Exhibit BB.) |

Idaho Code § 31-3511 (3) states in part, “the Board may deny an application if the
applicant has divested himself of resources within one year prior to filing an application

in order to become eligible for assistance”. Therefore, the Board concludes that

Findings of Fact, Conclusions 6
Of Law, and Order
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Schumacher. is “medically indigent” as defined by Idaho Code § 31-3502(1) because he

divested himself of assets within one year following his medical emergency. This code

section does not apply to request number —> because Mr. Schumacher divested

himself of assets after his medical emergency.

The County’s first lien of 5/ 12/06 filed with the Kootenai County Recorder’s Office with
a priority date of 11/22/05 was in place before Mr. Schumacher quitclaimed his property

to his son therefore this lien will grant Kootenai County first priority status.

The total medical bills of $98,280.47 divided by 60 months equals $1,638.01. (Exhibit

D.)

Schumacher is currently unemployed and was denied SSI. Under Idaho Code § 31-3502,

Schumacher is eligible for assistance if his monthly discretionary income is less than this

amount and ‘he lacks other resources evidencing a present ability to pay the medical bills

for which assistance has been requested.

Therefore, The Board concludes that Schumacher is “medically indigent” as defined by

Idaho Code § 31-3502(1) because he does not have sufficient resources with which to pay

the debt over a five (5) year period.

Findings of Fact, Conclusions 7
Of Law, and Order: ,
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ORDER
Based upon the foregoing Findings of Fact and Conclusions of Law, the Kootenai County
‘Board of Commissioners-hereby reverses its prior Initial Determination of Denial of Request No.

QE, for medical services provided to Dane Schumacher and orders that the County pay the

following bills:

ans 11/22-12/12/05 50.00
ae 11/25/05-1/09/06 300.00
qs 31 /22-11/28/05 6,950.00
a 11/22/05 603.25
qua 11/28/05 3,770.00
EE 12/12/05 | 116.55
quay 12/12-12/29/05 428.40
aD 1/04-1/50/06 489.60
Ee 1/09/06 186.85
qs 11/22-12/06/05 95,385.82

Total: $98,280.47

Payment of approved bills shall be for no more than the Unadjusted Medicaid Rate

pursuant to Title XIX of the Social Security Act. Acceptance of County payment constitutes

payment in full and the provider shall not seek additional funds from the applicant. Idaho Code

§ 31-3502 (5) and § 31-3519 (3). All charges are subject to Kootenai County’s right to review
the reasonableness of all charges. Pursuant to Idaho Code § 31-3519(1), upon receipt of a final

determination approving an application for necessary medical services, an applicant, a provider,

Findings of Fact, Conclusions
Of Law, and Order
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or the third party on behalf of the applicant, shall, within sixty (60) days, submit a county claim

in accordance with the procedures provided in Chapter 15, Title 31, Idaho Code.

Pursuant to Idaho Code § 31-3501A, it is hereby further ordered that Schumacher enter

into a repayment: agreement, with a monthly payment no less than $25.00 per month, as
reimbursement to the County for the imdigent assistance received for payment of the

aforementioned medical bills.

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Api! , 2009.

MMISSIONERS

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Dated this g day of

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Findings of Fact, Conclusions
Of Law, and Order
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CERTIFICATE OF MAILING

Thereby certify that a true and correct copy of this document was mailed by U.S. Mail, postage

 

 

prepaid, to the parties listed below on N-G-OF by SA thee Deshi

Dane Schumacher

\\"

Michael Hague, Attorney-At-Law

Jethelyn Harrington, Kootenai County Prosecuting Attorney, Civil Division

File

Findings of Fact, Conclusions

of Law, and Order 10
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Casé 2:12-Ccv-00296-CWD Document 42 Filed 11/24/14 Page 19 of 27

OFFICE OF THE

KOOTENAI COUNTY ASSISTANCE
451 GOVERNMENT WAY

COEUR D'ALENE, ID 838169000
PHONE (208) 446-1880 FAX (208) 446-2177

 

 

Total Due: 63,210.07

Total Paid: 0.00
Balance Due: 53,210.07

Bill To: SCHUMACHER, DANE LOU
P.O. BOX 411
RATHDRUM, ID 83858

 

 

 

Statement Date: 03/01/2011

Applicant: SCHUMACHER, DANE LOU

Payment: $50.00 Monthly
Terms: CAT
County Case:

#** ACCOUNT DELINQUENT!! IF PAYMENT IS NOT MADE WITHIN 30 DAYS, IT WILL BE TURNED OVER TO
COLLECTIONS & ADDITIONAL FEES (UP TO 33%) WILL BE ADDED.

KEK

Please return this portion with your payment

Mail Payment To: | KOOTENAI COUNTY ASSISTANCE SOR DANE LOU
P O BOX 9000 v.
COEUR D'ALENE, ID 838169000 RATHDRUM. ID 83858
Statement Date; 03/01/2011
County Case: ;
Last Paid: Payment Due: 03/20/2011
Request #: Ga» Amount Enclosed:

TN024
Case 2:12-cv-00296-CWD Document 42 Filed 11/24/14 Page 20 of 27

‘NOTICE OF LIEN AND APPLICATION
FOR MEDICALLY INDIGENT BENEFITS

; . DANIEL J. ENGLISH 1P I 2030761000
RE: Request Number: (aaa? PANTENAS CON RECORDER ‘Page dof i

BBB Date @5/12/2006 Time 09:10:23
REC-REQ OF KC ASSISTANCE

‘Ree FEE: 0.00
0 A A /o

Pursuant to Idaho Code §31-3501 et seq., the Board of County Commissioners of Kootenai County, hereby claim a statutory
lien on behalf of Kootenai County and/or the Catastrophic Health Care Costs Program in an unliquidated amount against all
real and/or personal property including but not limited to the following described property of SCHUMACHER, DANE LOU,
whose last known address is P.O. BOX 411, Rathdrum ID 83858. Said lien arises from an application which was filed on
April 27, 2006 for necessary medical services which were rendered to the above named individual(s), or their mmor
dependent(s), which service commenced on November 22, 2005 and for any follow up care required for this illness or injury.

LEGAL DESCRIPTION: NONE

BOARD OF KOOTENAI COUNTY COMMISSIONERS

Awe AF
Osi he

S.J."GUS" JOHNSON |

Z Pon
E R. CURRIE VERB
Ol

 

 

 

‘KATIE BRODIE
STATE OF IDAHO )
. ) ss.
County of Kootenai )

 

On this it day of Has , in the year 200G , before me (! ind Li hdg vist,

personally appeared $.J. "GUS" JO ON, EBMER-R-GURRIE, KATIE BRODIE, know or identified to me to be {He County
Commissioners of Kootenai County, Idaho that executed the said instrument, and acknowledged to me that such Board of
County Commissioners of Kootenai County, Idaho executed the same

(ea des
Notary Public fer ” State of Idaho
Residing at: ai
My Commission Expires: 23/0

cc:

  
 
 

EXHIBIT

1 C¢

LV 750

 

  
     

IN100

   
 

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Case 2:12-cv-00296-CWD Document 42 Filed 6 Page 21 of 27

STATE OF IDAHO - COUNTY 0... — FORM N1
Mail To: Secretary of State

UCC Division Telephone: 208-334-3191 IDAHO SECRETARY OF STATE

700 W Jefferson 5/08/2666 85:66

PO Box 83720 Fax: 208-334-2847 Ch: NONE (CT: 7B0c8 BH: 953410
1B 8.00 = 8.00 MEDIC LIEN fe

Boise, ID 83720-0080
Filing Number:
Instructions: WM 2663
4. Please type and sign this form in black.
2, File only the original. Make copies for your file. The original will be returned as
your acknowledgment.
3. Enter only one debtor's name or assumed name per debtor block exactly as it
is to be indexed. If more than four names, use an attached sheet.
4. When the obligation has been satisfied, complete the Termination Statement and

return the original to the filing officer.

This block for Filing Office use only.

 

 

of each debtor against whom the lien is claimed, and the address of each.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name or business name
4. Organization or Indiv, Last Name First Name Middie Name Suffix
SCHUMACHER DANE LOU

Address City State Zip

PO BOX 411 RATHDRUM ID 83858

2. Organization or Indiv, Last Name First Name Middle Name Suffix

Address City * ‘State Zip

3. Organization or Indiv. Last Name First Name Middie Name Suffix

Address Cily State Zip

4. Organization or Indiv. Last Name First Name Middle Name Suffix
Cily State Zip

Address

 

Secured Party Name and Address

 

 

 

 

 

 

Organization or Indiv. Last Name First Name Middle Name
Kootenai County Assistance
Address Gily Stale Zip
P.O. Box 9000 Coeur d'Alene ID 83816-9000
Assignee Name and Address
Organization or Indiv. Last Name First Name Middle Name
Clty State zip

Address

 

Acknowledgment Name and Address, if not Secured Party

 

 

 

 

Organization ur indiv, Last Haine First ame Middie Nam
Address Cily State Zip
This financing salement covers the following types or items of property:
FORD RANGER PICKUP VIN # 1FTYR15E24PB21693
The date on which the medical services were provided was: 11 122 (2005 . Notice of application for medical

indigency benefits, and lien op all real & perspnal property of the applicant (debtor), pursuant to Section 31-3504, 1.C.

Signature of Secured Party: [ lint iad (opty UaAK-
|! TERMINATION STATEMENT (

The Secured Party no longer claims a security interest under the financing statement.

 

 

   
  

Signature of Secured Party / Assignee of Record

 
  

   

Rev. 07/2001

Bes a
Cv -12-286-W- QD
 

Case 2:12-cv-00296-CWD Document 42 Filed eo. Page 22 of 27

767698
NOTICE OF LIEN AND APPLICATION
FOR MEDICALLY INDIGENT BENEFITS .

' . DANIE . :
RE: Request Number: am DANTE AT cBNOLESH nee Tpege dof
. BBB Date 05/12/2006 Time 09:10:23
REC-REQ OF KC ASSISTANCE
ter es
2030761000 XN mt fo

Pursuant to Idaho Code §31-3501 et seq., the Board of County Commissioners of Kootenai County, hereby claim a statutory
lien on behalf of Kootenai County and/or the Catastrophic Health Care Costs Program in an unliquidated amount against all
real and/or personal property including but not limited to the following described property of SCHUMACHER, DANE LOU,
whose last known address is P.O. BOX 411, Rathdrum ID 83858. Said lien arises from an application which was filed on

s which were rendered to the above named individual(s), or their minor

April 27, 2006 for necessary medica] service
dependent(s), which service commenced on November 22, 2005 and for any follow up care required for this illness or injury.

LEGAL DESCRIPTION: NONE

 

 

 

 

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mae Oo ce 4 BOARD OF KOOTENAI COUNTY COMMISSIONERS
on LI .
mi eas SJ."GUS" JOHNSON i j
~ —
t= 5 2 3
NY = z E R. CURRIE Fx
rs) f leat neat
KATIE BRODIE
STATE OF IDAHO )
) 38,
County of Kootenai )

On this Ute day of , in the year A00G , before me (hindu / ind vist,
personally appeared S.J, "GUS" a ELMERR-CURRIE, KATIE BRODIE, know or identified to me to be tke County
ledged to me that such Board of

Commissioners of Kootenai County, Idaho that executed the said instrument, and acknow
County Commissioners of Kootenai County, Idaho executed the same

   
    

  

Notary Public State of T

Residing at: ia ‘

My Commission Expires:

  

IN100

Cv 2-296-1-

 

 
 

Case 2:12-cv-00296-CWD Document 42 Filed 11/24/14 Page 23 of 27

767699
NOTICE OF LIEN AND APPLICATION
FOR MEDICALLY INDIGENT BENEFITS gz FILED BY
OKT Cn . Ace tsheance.
RE: Request Number: Quay 2009 MAR -2 > 2: 43
&

MARIE SCOTT
BONNER COUNTY RECORDER

CB DEPUTY —

 

Pursuant to Idaho Code §31-3501 et seq., the Board of County Commissioners of Kootenai County, hereby claim a statutory
lien on behalf of Kootenai County and/or the Catastrophic Health Care Costs Program in an unliquidated amount against all
real and/or personal property including but not limited to the following described property of SCHUMACHER, DANE LOU,
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April 27, 2006 for necessary medical services which were rendered to the above named individual(s), or their minor
dependent(s), which service commenced on November 22, 2005 and for any follow up care required for this illness or injury.

LEGAL DESCRIPTION: 13-55N-4W
S2SW 3 OF RR & WEST OF CO RD

BOARD OF KOOTENAI GOUNTY COMMISSIONERS

ZEA

ELMER R. GURRI

 
 
 

af

 

RICHARD A. PIAZZA

 

W. TODD TONDEE

 

 

STATE OF IDAHO ) _
) ss.

County of Kootenai )

On this Zh ho day of TN ar , in the year (X09, before me bine (f Sins ;

personally appeared ELMER R. CURRIE, RICHARD A. PIAZZA, W. TODD TONDEE, lmow or identified to me to be the
County Commissioners of Kootenai County, Idaho that executed the said instrument, and acknowledged to me that such Board
of County Commissioners of Kootenai County, Idaho executed the same

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ee! Kewl BY
Soh lS Ell!

Notary Public for the State of Idaho

  

Residing at: :
o, PUBLIC: 2 My Commission Expires: _S-1 §’-A 0f3
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> EXHIBIT

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MAL Td? KooTENAI Ca ASSISTANCE . PL BOR?POEO COA E BEE FOO
 

Case i Sn anid 2rUr 27
6 First American Ti y

BP paren
foo. suf 419 North Second Ave. * Sandpaint, HD 83864

 

JUL 0 8 2007 | . , Buyer's Final Settlement Statement

Property: Fic No: GD
Officer: Fern Ellsworth/fe
New Loaz No:
Settlement Date: ,
Disbursement Date: 07/13/2005
Print Date: 7113/2005, 8:19 AM

Buyer: Dane L. Schumacher

Address: POBox 411, Rathdrum, ID 83858
Seller: Marsha L. Hester

Aildress: PO Box 1361, Priest River, ID 83856

 

 

 

   

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FULL.

Dane L. Schumacher

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State of Idaho, County of t
On this day of ‘ nee b mas notary public
In and for sald State, personally appeared__/ L324 ZL + . Nin mynae@Aet
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5 known or proved to me to be the person whose nayne__ aS subscribed to the
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Case 2:12-cv-00296-CWD Document 42 Filed 11/24/14 Page 25 of 27
Case 2:12-cv-00296-CW} Pacgument 9 Filed 09/05/12 Page 3 of 3

ney Sahumacht

ith WN -b°P 2 55
FOR VALUABLE CONSIDERATION, The receipt and MARC ccort
RONHER yn RECORDER

sufficiency of which are hereby acknowledged.
2 DEPUTY

 

LANE_TL SCHUMACHER
RECORDER USE ONLY.

the Grantor__, whose address is po pox-694

RATHDRUM, LD. 83858 do hereby remise. release and forever

quitclaim unto _NATHAN A, BOHUMASHRE

the Grantee _, whose address Is 10608 N.MEYER RD. RATHDRIM,TNAI858

and _h., heirs,

including after-acquired title, In th
, County of _rnava :

successors and assigns, all of the

en
e following

Grantor's right, title and Interest,
described premises. in _gBonNER

State of Idaho, to-wit:
Pp OF THE SOUTH HALF OFTHE SOUPHWUEST OUARTER. OF

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   
 
  

 

 

 

 

 
 
  
  

    

  
  

 

 

 

 

 
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ase 2:12-cv-00296-CWD Document 42 Filed 11/24/14 Page 26 of 27
Case 2:12-cv-00296-CWD Document 9 Filed 09/05/12 Page 1 of 3

NICOLAS V. VIETH

Bar Nos. ID 8166 / WA 34196
Vieth Law Offices, Chtd.

912 East Sherman Avenue
Coeur d’ Alene ID 83814
Telephone: 208.664.9494
Facsimile: 208.664.9448
Email: nick@viethlaw.com

Attorney for Dane L. Schumacher

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO
(Honorable Candy W. Dale, Magistrate)

UNITED STATES OF AMERICA,

Plaintiff,

vs.
CASE NO. CV-12-000296-N-CWD

)
)
)
)
)
)
Real Property Located at 5294 )
BANDY ROAD, PRIEST RIVER, ) STATEMENT OF INTEREST
BONNER COUNTY, IDAHO, and )
all fixtures and improvements and )
appurtenances thereon (Owner of )
)
)
)
_)

Record: Nathan A. Schumacher),

Defendant.

 

 

I, Dane L. Schumacher, mindful of the penalties for perjury, files this

verified claim of ownership of the above described property. As grounds for this

claim, claimant states the following:

VERIFIED STATEMENT OF INTEREST - 1

 
Case 2:12-cv-00296-CWD Document 42 Filed 11/24/14 Page 27 of 27
Case 2:12-cv-00296-CWD Document 9 Filed 09/05/12 Page 2 of 3

1.  LIamasingle man. I was the owner of the real property located at
5294 Bandy Road, Priest River, Bonner County, Idaho, including all

appurtenances and improvements thereon, but signed and filed a

Quick Claim Deed to my son, Nathan Schumacher, on June 6, 2006,
and became his sole property on that date, primarily due to medical
expenses. Please see the attached Quit Claim Deed.

9. Thereby claim the right to defend this action.

I declare under penalty of perjury that the foregoing is true and correct and

executed on this 5th day of September, 2012. [) Uf

DANE L. SCHUMACHER

CERTIFICATE OF SERVICE

| HEREBY CERTIFY that on the 5th day of September, 2012, the foregoing

document was electronically filed with the Clerk of the Court using the CM/ECF

system which sent a Notice of Electronic Filing to the following person(s):

anthony. hall@usdoj.gov

/s/ Nicolas V. Vieth
NICOLAS V. VIETH

VERIFIED STATEMENT OF INTEREST - 2
